Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 1 of 52




                EXHIBIT A
         Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 2 of 52




                        ASSURANCE OF VOLUNTARY COMPLIANCE

         This Assurance of Voluntary Compliance1 (the “Assurance”) is entered into by the

Attorneys General of the States and Commonwealths of Alaska, Alabama, Arkansas, Arizona,

California, Colorado, Connecticut, Delaware, Florida, Georgia, Illinois, Iowa, Idaho, Indiana,

Kansas, Kentucky, Louisiana, Massachusetts, Maryland, Maine, Michigan, Minnesota, Missouri,

Mississippi, Montana, North Carolina, North Dakota, Nebraska, New Hampshire, New Jersey,



         1
           This Assurance of Voluntary Compliance shall, for all necessary purposes, also be considered an
Assurance of Discontinuance. The Attorneys General have authority to execute this Assurance. See generally N.Y.
EXEC. LAW § 63(15); TENN. CODE ANN. § 47-18-107; FLORIDA STATUTES SECTION 501.207(6); ILLINOIS CONSUMER
FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/6.1; N.J.S.A. 56:8-1 to -227; P.A. UNFAIR TRADE
PRACTICES AND CONSUMER PROTECTION LAW 73 P.S. § 201-5; TEX. BUS. & COM. CODE § 17.58; RCW 19.86.100;
ALASKA STAT. § 45.50.511; ALA. CODE § 8-19-4; ARKANSAS CODE ANNOTATED § 4-88-114; ARIZ. REV. STAT. § 44-
1530; C.R.S. § 6-1-110(2); CONN. GEN. STAT. § 42-110j; D.C. CODE 28-3909(c)(6); 29 DEL. C. § 2525(a) (authorizing
cease and desist orders by agreement); O.C.G.A. § 10-1-402; HAW. REV. STAT. SECT. 487-12; IOWA CODE § 714.16 ;
IOWA ADMIN. CODE R. 61-38.1; IDAHO CODE § 48-610; IND. CODE § 24-5-0.5-7; KENTUCKY REVISED STATUTES
367.230; UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW, LA. R.S. § LA. R.S. 51:1410; M.G.L. C. 93A,
SEC. 5.; MD. CODE ANN., COM. LAW § 13-402; 5 M.R.S.A. § 210; MICH. COMP. LAWS § 445.906; MINN. STAT. § 8.31,
SUBD. 2B; §407.030 RSMO; MISSISSIPPI CONSUMER PROTECTION ACT, MS CODE ANN. §75-24-27(1)(g) ; MONT.
CODE ANN. § 30-14-112; N.D.C.C. 51-15-06.1; NEB. REV. STAT. § 59-1610 AND NEB. REV. STAT. § 87-202.05(2);
N.H. REV. STAT. ANN. § 358-A:1-7; NEW MEXICO UNFAIR PRACTICES ACT NMSA 1978, §57-12-9 (1971); NEV. REV.
STAT. 598.0995; OHIO REVISED CODE 1345.06(F); 15 O.S. § 756.1; ORS 646.632; R.I. GEN. LAWS § 6–13.1–6 ;
SOUTH CAROLINA CODE § 39-5-60; SDCL 37-24-19; UTAH CODE § 13-2-1, et seq.; VA. CODE ANN. § 59.1-202; 9
V.S.A. § 2459; WIS. STAT. § 100.18(11)(e); W. VA. CODE § 46A-7-107; and WYO. STAT. ANN. § 40-12-107.
          This Assurance of Voluntary Compliance is a Settlement Agreement for the purposes of the North Carolina
Unfair and Deceptive Practices Act, N.C. GEN. STAT. § 75-1.1 et seq.
          The State of California is simultaneously entering into a settlement in a form consistent with the
requirements of California law. That settlement incorporates the substantive terms of this Assurance and any
differences between California’s settlement and this Assurance arise from the differences as to form.
          The State of Connecticut is represented by the Connecticut Attorney General, acting at the request of the
Commissioner of Consumer Protection. CONN. GEN. STAT. §§ 42-110j and 42-110m.
          Hawaii is represented on this matter by its Office of Consumer Protection, an agency which is not part of
the state Attorney General’s Office, but which is statutorily authorized to undertake consumer protection functions,
including legal representation of the State of Hawaii. For simplicity purposes, the entire group will be referred to as
the “Attorneys General” or individually as “Attorney General” and the designations, as they pertain to Hawaii, refer
to the Executive Director of the State of Hawaii’s Office of Consumer Protection.
          Maryland is represented by the Consumer Protection Division of the Office of the Attorney General of
Maryland. For simplicity purposes, the entire group will be referred to as the “Attorneys General” or individually as
“Attorney General” and the designations, as they pertain to Maryland, refer to the Consumer Protection Division of
the Office of the Attorney General of Maryland. The Consumer Protection Division has authority to enter into this
Assurance pursuant to MD. CODE. ANN., COM. LAW § 13-402.
          Herein, no state-specific language or provision included in a footnote or appendix, or any state-specific
portion thereof, shall affect the interpretation, construction, or enforcement of the Assurance with respect to any
signatory State not referenced in such footnote or appendix, or any state-specific portion thereof.
          Intuit understands each State may conform the form of the Assurance in accordance with statute, rule, or
practice and may add a cover page, caption, or appendix to the document.


                                                          1
         Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 3 of 52




New Mexico, Nevada, New York, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Vermont, Washington, Wisconsin,

West Virginia, and Wyoming, the District of Columbia, and the Executive Director of the State of

Hawaii Office of Consumer Protection (the “Attorneys General” or the “States”) and Intuit Inc.

(“Intuit”; together with the “Attorneys General,” the “Parties”) to resolve an investigation of the

Attorneys General into Intuit’s marketing, advertising, promotion, and sale of certain online tax

preparation products and whether Intuit’s conduct constituted deceptive or unfair business acts or

practices in violation of the States’ consumer protection laws.2 In consideration of their mutual

agreements to the terms of this Assurance, and such other consideration as described herein, the

sufficiency of which is hereby acknowledged, the Parties hereby enter into this Assurance and

agree as follows:

                                              DEFINITIONS
        For the purpose of this Assurance, the following definitions apply:




         2
           See generally N.Y. EXEC. LAW § 63(12); N.Y. GEN. BUS. LAW §§ 349-50; TENN. CODE ANN. §§ 47-18-
104; FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT, CHAPTER 501, PART II, FLORIDA STATUTES; ILLINOIS
CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS 505/1, et seq.; N.C.G.S. § 75-1.1; N.J.S.A.
56:8-2; P.A. UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW, 73 P.S. §§ 201-1 – 201-9.2; TEX. BUS. &
COM. CODE ANN. §§ 17.41 through 17.63; RCW 19.86.020; ALASKA STAT. § 45.50.471; ALA. CODE § 8-19-1 et seq.;
ARKANSAS CODE ANNOTATED § 4-88-107(A); ARIZ. REV. STAT. §§ 44-1521 TO 1534; CAL. BUS. & PROF. CODE §
17200 et seq., § 17500 et seq.; C.R.S. § 6-1-101 et seq.; C.R.S. § 6-1-105(1); CONN. GEN. STAT. § 42-110b (a); D.C.
CODE 28-3904; 6 DEL. C. § 2513; O.C.G.A. § 10-1-390 et seq.; HAW. REV. STAT. CHPTS. 480 AND 481A; IOWA CODE
§ 714.16; IDAHO CONSUMER PROTECTION ACT, TITLE 48, CHAPTER 6, IDAHO CODE; IND. CODE § 24-5-0.5-0.1, et seq.;
K.S.A. § 50-623 et seq.; KENTUCKY REVISED STATUTES 367.170; UNFAIR TRADE PRACTICES AND CONSUMER
PROTECTION LAW, LA. R.S. §§ 51:1401 et seq.; M.G.L. C. 93A, SECS 2 & 4.; MD. CODE ANN., COM. LAW §§ 13-101
through 13-501; 5 M.R.S.A. § 205-A ET SEQ; MICH. COMP. LAWS § 445.903; MICH. COMP. LAWS § 445.901 et seq.;
MINN. STAT. §§ 325D.44; 325F.69, SUBD. 1; §407.020 RSMO; MISSISSIPPI CONSUMER PROTECTION ACT, MS CODE
ANN. §75-24-1 et seq.; MONT. CODE ANN. § 30-14-103; N.D. CENT. CODE § 51-15-01 et seq.; NEB. REV. STAT. §§ 59-
1601 to 59-1622 AND NEB. REV. STAT. §§ 87-301 to 87-306.; N.H. REV. STAT. ANN. § 358-A:1-7; NEW MEXICO
UNFAIR PRACTICES ACT NMSA 1978, §57-12-1 et seq. (1967); NRS 598.0903 et al.; OHIO CONSUMER SALES
PRACTICES ACT (“CSPA”), OHIO REVISED CODE 1345.01 et seq., AND ITS SUBSTANTIVE RULES, 109-4-3-01, et seq. ;
OKLAHOMA CONSUMER PROTECTION ACT, 15 O.S. §§ 751 et seq.; OREGON’S UNLAWFUL TRADE PRACTICES ACT,
ORS 646.605 TO 646.652; ORS 646.608(1)(b), (c), (e), and (s); R.I. GEN. LAWS § 6–13.1–1 et seq.; SOUTH CAROLINA
CODE § 39-5-10 et seq.; SDCL CHAPTER 37-24; UTAH CODE § 13-11-4; VA. CODE ANN. §§ 59.1-196 to 59.1-207; 9
V.S.A. § 2453; FRAUDULENT REPRESENTATIONS. WIS. STAT. § 100.18(1); W. VA. CODE §§ 46A-1-101, et seq.; WYO.
STAT. ANN. § 40-12-101 through -114 (the “Consumer Protection Acts”).


                                                        2
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 4 of 52




       A.      “Advertisement” or “Advertising” means any written or verbal statement,

illustration, or depiction that promotes the sale or use of a consumer good or service, or is

designed to increase consumer interest in a brand, good, or service. Advertising media includes,

but is not limited to promotional materials; print; television; radio; and Internet, Paid Display

Advertisements, Paid Search Advertisements, display, social media, and other digital content.

       B.      “Clearly and Conspicuously” means that a required disclosure is difficult to

miss (i.e., easily noticeable) and easily understandable by ordinary consumers, including in all of

the following ways:

               1)      In any communication that is solely visual or solely audible, the disclosure

                       must be made through the same means through which the communication

                       is presented. In any communication made through both visual and audible

                       means, such as a television Advertisement, the disclosure must be

                       presented in both the visual and audible portions of the communication

                       even if the representation requiring the disclosure is made in only one

                       means (the disclosures in the visual and audible portions of the

                       communication in Space-Constrained Video Advertisements are not

                       required to be identical).

               2)      A visual disclosure, by its size, contrast, location, the length of time it

                       appears, and other characteristics, must stand out from any accompanying

                       text or other visual elements so that it is easily noticed, read, and

                       understood.




                                                    3
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 5 of 52




               3)      An audible disclosure, including by telephone or streaming video, must be

                       delivered in a volume, speed, and cadence sufficient for ordinary

                       consumers to easily hear and understand it.

               4)      In any communication using an interactive electronic medium, such as the

                       Internet or software, the disclosure must be unavoidable.

               5)      The disclosure must use diction and syntax understandable to ordinary

                       consumers and must appear in each language in which the representation

                       that requires disclosure appears.

               6)      The disclosure must comply with these requirements in each medium

                       through which it is received, including all electronic devices and face-to-

                       face communications.

               7)      The disclosure must not be contradicted or mitigated by, or inconsistent

                       with, anything else in the communication.

               8)      When the representation or sales practice targets a specific audience, such

                       as children, the elderly, or the terminally ill, “ordinary consumers”

                       includes reasonable members of that group.

       C.      “Close Proximity” means that the disclosure is very near the triggering

representation and that the disclosure is made simultaneously with the triggering representation

and remains or is repeated throughout the duration of the Advertisement. For example, a

disclosure made through a hyperlink, pop-up, interstitial, or other similar technique is not in

Close Proximity to the triggering representation.

       D.      “Effective Date” means the date on which all of the Parties have signed this

Assurance.




                                                 4
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 6 of 52




       E.      “Intuit IRS Free File Product” means Intuit’s TurboTax Free File Program,

TurboTax Freedom Edition, IRS Free File Program delivered by TurboTax or any other Intuit

product or service that was or in the future may be provided pursuant to a memorandum of

understanding or an agreement between Free File, Inc. (or any successor entity) and the IRS for

the provision of free online tax preparation and e-filing services.

       F.      “Oversight Committee” shall mean the following Attorneys General: Florida,

Illinois, New Jersey, New York, North Carolina, Pennsylvania, Tennessee, Texas, and

Washington.

       G.      “Paid Display Advertisement” means an online Advertisement in which Intuit

pays, or causes another to pay, to have an Advertisement displayed on a website and pays for the

Advertisement, regardless of whether consumers click on the Advertisement.

       H.      “Paid Search Advertisement” means an online Advertisement in which Intuit

pays, or causes another to pay, to have an Advertisement displayed with search engine results for

a particular search term and pays for the Advertisement only when consumers click on the

Advertisement.

       I.      “Covered Consumer” means any individual, or individuals if a joint return was

filed, who in Tax Years 2016, 2017, or 2018 was (1) eligible to use an Intuit IRS Free File

Product; (2) began his or her tax returns using a TurboTax Free Edition Product; (3) was

informed that he or she was ineligible to use a TurboTax Free Edition Product; (4) subsequently

paid to use a TurboTax Paid Product, and (5) had not used the Intuit IRS Free File Product in a

previous tax year.

       J.      “Space-Constrained Advertisement” means any online Advertisement

(including but not limited to Paid Display Advertisements and Paid Search Advertisements) or




                                                  5
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 7 of 52




any Video Advertisement that has space, time, format, size, or technological restrictions that limit

Intuit from being able to make the disclosures required by this Assurance. Intuit bears the burden

of showing that there is a constraint or insufficient space and time to make a required disclosure

that is Clear and Conspicuous and in Close Proximity to the triggering term. Space-Constrained

Advertisements do not include Advertisements on a TurboTax Website.

       K.      “TurboTax Free Edition Product” means any online software product offered by

Intuit that allows consumers, without paying a fee, to prepare and file federal tax returns, state

tax returns, or both, including but not limited to “TurboTax Free Edition” and “Federal Free

Edition.” “TurboTax Free Edition Product” does not include any Intuit IRS Free File Product,

any TurboTax Paid Product, TurboTax Live, or any products sold or offered within the TurboTax

Free Edition Product, such as Audit Defense.

       L.      “TurboTax Paid Product” means the online tax preparation software products

offered by Intuit that allow consumers, for a fee, to prepare and file federal tax returns, state tax

returns, or both, for themselves. “TurboTax Paid Product” does not include products sold or

offered in addition to a TurboTax Paid Product.

       M.      “TurboTax Website” means turbotax.intuit.com, any subdomain of

turbotax.intuit.com, and any other website owned, operated, or controlled partially or wholly by

Intuit that provides or offers TurboTax Paid Products or TurboTax Free Edition Products.

       N.      “Upgrade Screen” means any display within the product flow of the TurboTax

Free Edition Product that appears when consumers using that product indicate they have income,

credits, deductions, or other tax situations not covered by the TurboTax Free Edition Product,

and offers consumers the option of using a TurboTax Paid Product to prepare and file their

federal and/or state tax returns.




                                                  6
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 8 of 52




       O.         “Video Advertisement” means any Advertisement made via television or made

online using video.

                                             FINDINGS
       1.         Intuit is a Delaware corporation with its principal place of business in Mountain

View, California.

       2.         Intuit transacts or has transacted business in each State and throughout the United

States. At all times relevant to this Assurance, acting alone or in concert with others, Intuit has

advertised, marketed, distributed, or sold TurboTax, a tax preparation software that enables users

to prepare and file their taxes through the internet, to consumers throughout the United States.

I.     Intuit’s Free TurboTax Products
       3.         From at least 2016 to October 2021, Intuit offered two TurboTax online tax filing

products that were available for free to consumers who met certain eligibility requirements. Each

of these products had different eligibility requirements.

       A.         TurboTax’s “Freemium” Product: TurboTax Free Edition
       4.         Since at least 2016, Intuit has engaged in what it calls a “freemium” business

strategy that monetizes free products.

       5.         This “freemium” business strategy involves, in part, growing Intuit’s customer

base by offering free products to consumers to whom Intuit sells separate add-on products and

inducing customers to upgrade to paid versions of TurboTax.

       6.         Since at least 2017, Intuit has called its “freemium” product “TurboTax Free

Edition.” In 2016, Intuit called its “freemium” product “Federal Free Edition.”

       7.         This TurboTax “freemium” product is only available to consumers with “simple”

tax returns, as defined by Intuit; other consumers are required to upgrade to paid products to file

through Intuit.


                                                   7
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 9 of 52




       8.      For consumers filing their 2016 and 2017 taxes, Intuit defined a “simple” tax

return as a return that could be filed using a 1040A or 1040EZ tax form.

       9.      Since 2019, when consumers filed tax returns for Tax Year (“TY”) 2018 income,

Intuit has defined a “simple” tax return as a return that could be filed on a Form 1040, with no

attached schedules, regardless of the consumer’s income.

       B.      Intuit’s Free File Product
       10.     From 2003 to October 2021, Intuit offered a free version of its online tax

preparation products through its participation in the United States Internal Revenue Service

(“IRS”) Free File Program, a public-private partnership formed in 2002 between a consortium of

tax preparation software companies and the IRS pursuant to a Memorandum of Understanding

(“MOU”). Under the MOU, participating companies offer free online tax preparation products to

low- and middle-income Americans. In exchange, the IRS agreed not to compete with the

participating companies in providing free, online tax return preparation and filing services to

American consumers.

       11.     Historically, consumer participation in the IRS Free File Program has been low.

       12.     The IRS has set eligibility thresholds for participation in the Free File Program

based on consumers’ adjusted gross income (“AGI”). Consumers with an AGI equal to or less

than 70% of the U.S. consumer population are meant to be eligible for the program. The MOU,

however, requires that no company offer its Free File product to more than 50%, or less than

10%, of eligible consumers. Each company is free to set its own eligibility requirements to stay

within that range.

       13.     From 2017 (filings on TY 2016 income) to 2021 (filings on TY 2020 income),

Intuit made its Free File product available to all consumers who were eligible for the earned

income tax credit.


                                                 8
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 10 of 52




       14.       From 2017 to 2021, Intuit also made its Free File product available to all

consumers with an AGI that does not exceed specified AGI thresholds:

                           Tax Year                           Maximum AGI
                  2016 (returns filed in 2017)                  $33,000
                  2017 (returns filed in 2018)                  $33,000
                  2018 (returns filed in 2019)                  $34,000
                  2019 (returns filed in 2020)                  $36,000
                  2020 (returns filed in 2021)                  $39,000

       15.       From 2017 to 2021, Intuit also made its Free File product available to all active

duty military service members with an AGI that does not exceed specified AGI thresholds:

                           Tax Year                           Maximum AGI
                  2016 (returns filed in 2017)                  $64,000
                  2017 (returns filed in 2018)                  $66,000
                  2018 (returns filed in 2019)                  $66,000
                  2019 (returns filed in 2020)                  $69,000
                  2020 (returns filed in 2021)                  $72,000


       16.       Although consumers primarily accessed Intuit’s Free File product via IRS.gov,

they have also accessed it directly via Intuit’s internet landing page for the product, which is

different from the landing page for its “freemium” and paid products.

       17.       Intuit changed the name of its Free File product several times. Intuit also used

different names for its Free File product at the same time, depending on where the product was

being marketed.

       18.       Prior to TY 2018, Intuit called its Free File product “TurboTax Freedom Edition.”

       19.       For TY 2018, Intuit changed the name of its Free File product to “TurboTax Free

File Program.”




                                                   9
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 11 of 52




       20.     From at least TY 2016 through and including TY 2018, Intuit used a different

name to market its Free File product on the IRS.gov website. On the IRS.gov website, Intuit

marketed its Free File product as “TurboTax All Free ℠.”

       21.     For TY 2019 and 2020, Intuit changed the name of its Free File product to “IRS

Free File Program Delivered by TurboTax.” This change was required by an amendment to the

MOU between the IRS and the participating tax preparation companies that required uniform

naming of all IRS Free File Program products.

       C.      The Tension Between Intuit’s Free File and “Freemium” Products
               and Related Consumer Confusion

       22.     Intuit’s Free File product yielded benefits to the company as part of its efforts to

avoid government “encroachment” into the tax preparation industry.

       23.     Indeed, Intuit has acknowledged publicly the competitive threat of a government-

run free e-filing system, including in Securities and Exchange Commission filings.

       24.     Intuit has recognized that high participation in the IRS Free File Program would

dent its bottom line, but that, at the same time, it had to keep Free File enrollments above a

certain level to prevent government “encroachment.”

       25.     For several years prior to TY 2018, Intuit employees tasked with overseeing the

marketing strategy for both Intuit’s Free File and “freemium” products considered changing the

name of Intuit’s Free File product.

       26.     Intuit knew that consumers were confused by the similarity of the names of these

products. Intuit chose to name its commercial freemium product TurboTax “Free Edition,” even

though it is only free for approximately one-third of taxpayers, while it named its Free File

product “Freedom Edition,” which does not indicate that it is free despite being part of a program

that is free for 70 percent of taxpayers.



                                                 10
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 12 of 52




       27.     In 2018, Intuit knew that consumers were still confused about the differences

between its Free File and “freemium” products.

       28.     Although Intuit changed the name of its Free File product to TurboTax Free File

Program for TY 2018, it continued to market its Free File product on the IRS.gov website using

the trademarked name TurboTax All Free. Moreover, Intuit was aware that changing the name to

TurboTax Free File Program would not create any additional clarity for its customers and that

consumers would be confused between the Free File Program and TurboTax Free Edition,

especially due to the company’s focus on the use of “free” in marketing its products.

       29.     In 2019, this time pursuant to the MOU with the IRS, Intuit again changed the

name of its Free File product, renaming it to IRS Free File Program Delivered by TurboTax.

II.    Online Search Practices
       A.      For TY 2018, Intuit Hid Its Free File Landing Page from Search Engines for
               Approximately Five Months During the Peak of Tax Season

       30.     In 2018, Intuit employees responsible for marketing strategy feared the name

change of Intuit’s Free File product could negatively impact the ranking of the company’s

“freemium” product in online search engine results, leading to a loss in revenue.

       31.     For TY 2018, Intuit blocked the landing page for its newly named Free File

product so that it would not be indexed (listed) by internet search engines. That block was in

place from November 13, 2018, to April 26, 2019. This timeframe covered the vast majority of

Intuit’s 2019 tax filing season, which is the time it received revenue from consumers using

TurboTax products to file tax returns for TY 2018.

       32.     For TY 2019, Intuit stopped blocking its Free File product landing page from

online search engines, and 2,070,778 consumers filed their federal tax returns using Intuit’s Free

File product, representing growth of 73% over TY 2018.



                                                11
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 13 of 52




       B.      Intuit Used Paid Search Terms to Direct Consumers Searching for the
               IRS Free File Program to Intuit’s “Freemium” and Paid Products

       33.     As part of its advertising and marketing practices, Intuit has bid on paid search

terms with search engines such as Google and Bing. When a consumer queried a search engine

for a search term and Intuit won the search engine’s instant auction for that paid search term, the

consumer would be served an ad selected by Intuit that included a hyperlink directing the

consumer to a specific website.

       34.     For many years, including TY 2018 while Intuit had blocked the landing page for

its Free File product from appearing in online search results, Intuit bid on search terms relevant

to the IRS Free File Program.

       35.     In many instances, these search terms indicated consumers were likely searching

for information about, or links to reach the website for, the IRS Free File Program. For example,

Intuit bid on the following 13 search terms:

            free file                                irs.gov/freefile
            free file irs                            irs.gov/freefile.
            free file taxes                          irs.gov free file
            free file taxes online                   irs.gov/free file
            free file turbotax                       turbo tax free file
            free file turbo tax                      turbotax free file program
            irs free file

       36.     For each of the 13 search terms referenced in paragraph 35, during TY 2018—

while Intuit had blocked the landing page for its Free File product from appearing in search

results—Intuit’s online ads directed consumers to Intuit’s commercial website with its

“freemium” product, rather than the IRS.gov website for the IRS Free File Program or the

landing page for Intuit’s Free File product.




                                                12
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 14 of 52




       37.     During TY 2018, Intuit directed consumers towards the website for “freemium”

and paid products when consumers searched for its Free File product by its exact name: Turbo

Tax Free File Program.

       38.     If a taxpayer knew to type “TurboTax Freedom” in a search engine, she would

receive a paid advertisement which, during the 2019 filing season, would direct her to a landing

page with a button link that said “See If You Qualify” that eventually lead to the Freedom

Edition website. However, the landing page also included a prominent link that said “Start for

Free,” which directed the user to TurboTax’s commercial and paid products.

       39.     Intuit knew that some of its customers were misled by these practices.

III.   Advertising Practices: Intuit’s Advertisements Misrepresented that Consumers
       Were Eligible for a Free Version of Its Products

       40.     Since at least 2016, Intuit has extensively promoted its TurboTax products

through advertising in a variety of mediums touting that it offers a free service.

       41.     Among its “do-it-yourself” online software products, Intuit used ads, including

television and social media ads, to promote its “freemium” TurboTax product.

       42.     Intuit also has engaged in an ad campaign it calls “Free, Free, Free” in which

“free” is essentially the only word spoken by the actors in the commercials, until the voice over

at the end of the advertisement. Intuit used at least six different advertisements in this campaign.

       43.     Many of Intuit’s ads contain a fine print disclaimer at the end of the commercial

informing consumers that the offer is limited to consumers with “simple tax returns” or “simple

U.S. returns only.” This fine print disclaimer was not conveyed audibly.

       44.     The disclaimers are inadequate to cure the express representation that the

advertised products are free.




                                                 13
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 15 of 52




       45.     A reasonable consumer could believe that the products Intuit advertises as free are

free for them, given that online products in many industries, including in online tax preparation,

are routinely offered to consumers completely free of any charge.

       46.     Intuit’s false statements or representations that TurboTax is free, without

adequately disclosing the limitations of its free offer, have induced consumers to begin using

TurboTax and, after discovering they are not eligible for Intuit’s “freemium” product (as

described below), to pay for paid TurboTax products.

IV.    Website Practices
       A.      Intuit’s TurboTax Home Page Misled Consumers into Believing
               They Were Eligible for Its “Freemium” Product

       47.     When consumers who saw Intuit’s advertisements visited the TurboTax website,

the website’s home page failed to adequately disclose the limitations on eligibility for Intuit’s

“freemium” product.

       48.     For example, for TY 2018, the TurboTax home page contained a screen that

mimicked the “free, free free free” ad campaign.

       49.     The screen failed to disclose adequately the limitations on eligibility.

       50.     Consumers who proceeded with the “freemium” product would be brought to a

login screen and then start an online, automated “interview” to begin entering information to file

their taxes. Consumers who were not eligible for Intuit’s “freemium” TurboTax product would

not learn they were ineligible until they had already invested significant time and effort creating

an account and inputting their personal tax information into the TurboTax product.

       51.     For TY 2019, the TurboTax home page used a similar screen, with an even greater

emphasis that consumers were “guaranteed” a free product. Again, consumers who were not

eligible for Intuit’s “freemium” TurboTax product would not learn they were ineligible until they



                                                 14
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 16 of 52




had already invested significant time and effort creating an account and inputting their personal

tax information into the TurboTax product.

       52.     For TY 2020 and 2021, Intuit has continued to employ a customer interview

model in which consumers who were not eligible for Intuit’s “freemium” TurboTax product

would not learn they were ineligible until they had already invested significant time and effort

creating an account and inputting their personal tax information into the TurboTax product.

       B.      Intuit’s TurboTax Products and Pricing Screen Failed to Disclose Intuit’s
               Free File Product, Further Impeding Consumers from Learning of Its
               Existence

       53.     Intuit’s TurboTax website has featured a screen Intuit calls its “Products and

Pricing” screen. For TY 2018, the headline on this screen informed consumers: “Tell us about

you – we’ll recommend the right tax solution.”

       54.     When consumers clicked on one of the options on this screen, the TurboTax

website would then recommend one of four products: (1) its “freemium” product, marketed as

Free Edition; (2) Deluxe; (3) Premier; or (4) Self-Employed—the latter three being Intuit’s paid

do-it-yourself tax products. At the bottom of the screen, all four products were displayed, with

the recommended product highlighted.

       55.     This screen never displayed or recommended the TurboTax Free File product to

consumers, even when they were ineligible for the “freemium” product, TurboTax Free Edition.

       56.     In fact, in TY 2019, the TurboTax website had a site index at the bottom of the

home page with a link to “All online tax preparation software.” That link brought consumers to

the Products and Pricing screen, which did not disclose Intuit’s Free File product. Likewise,

during TY 2020, the TurboTax app contained a similar list of “all products” that did not include

Intuit’s Free File product.




                                                 15
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 17 of 52




       57.     For eligible consumers based on their AGI, Intuit’s former Free File product

covered all tax situations, forms, and deductions, thus providing coverage equal to Intuit’s most

expensive TurboTax online product, Self-Employed.

       C.      The TurboTax Interview Process Used “Hard Stops” to Induce
               Consumers to Upgrade from Free to Paid Products

       58.     Intuit represented to consumers who are not eligible for the “freemium” product

that they must provide their payment information and pay Intuit in order to file their tax returns

online with TurboTax, even if the consumer was eligible to file for free through Intuit’s former

Free File product. Intuit informed consumers of these required upgrades using screens its

employees call “Hard Stops.” Intuit still employs Hard Stops in its “freemium” product.

       59.     When consumers use the TurboTax “freemium” product, Intuit’s software asks

them a series of questions on successive webpages about their financial situation. These

questions enable Intuit to determine whether consumers are eligible for the “freemium” product

and include, among other things, whether the consumer paid student loan interest or was self-

employed.

       60.     After supplying the information, consumers are prompted to input their income by

category. When consumers indicate that they need to report income on a Form 1099-MISC (for

example, because entities that paid them classified them as independent contractors), the

TurboTax “freemium” product displays a Hard Stop informing them that they cannot proceed for

free. For example, Intuit’s TY 2019 “Business Income Upgrade” Hard Stop told consumers: “To

accurately report this income, you’ll need to upgrade.”

       61.     Hard Stop screens then offer consumers the option to upgrade and pay for a paid

TurboTax product, such as TurboTax Deluxe or TurboTax Self-Employed. At various times




                                                16
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 18 of 52




during TY 2018 and 2017, Intuit charged $59.99 for TurboTax Deluxe and $119.99 for TurboTax

Self-Employed.

       62.     The Business Income Hard Stop was likely to deceive or mislead consumers who

were eligible for Intuit’s former Free File product.

       63.     The headline in the Business Income Hard Stop states that consumers must

upgrade to a paid product to “accurately report this income.” That statement was false at the time

for a large percentage of TurboTax customers—those who were eligible for Intuit’s Free File

product.

       64.     The Business Income Hard Stop was also misleading because it included a button

that says “keep free” below the column for TurboTax Free Edition, even though the consumer

could not actually continue using TurboTax Free Edition and report all of her income to the IRS.

       65.     Upon clicking on the “keep free” button, consumers were put into a feedback loop

that ended only if they upgraded to a paid product or chose not to report their 1099 income.

       66.     Intuit has used and is using many other Hard Stops to induce consumers to

upgrade based on certain types of income, such as income from a farm, farm rental or farm

equipment; selling a home; a prior year state tax refund; or investments. All of these Hard Stops

misled consumers eligible for Intuit’s former Free File product to provide their payment

information and buy paid TurboTax products.

       67.     Overall, for all Hard Stops from TY 2016 through TY 2018, millions of

consumers started in “freemium,” encountered a Hard Stop, and then upgraded to and filed in a

paid product. Many of those who were shown a Hard Stop were eligible at the time for Intuit’s

Free File product. These Free File-eligible consumers who upgraded in response to a Hard Stop

paid Intuit more than $100 million to file their federal tax returns.




                                                 17
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 19 of 52




       68.     From at least 2017 to October 2021, when consumers encountered these Hard

Stops, Intuit failed to disclose to consumers that they may have been or were eligible to use

Intuit’s Free File product to accurately report their income or claim certain tax deductions.

V.     Conclusion
       69.     Based on these Findings, the Attorneys General have reason to believe that Intuit

has engaged in deceptive and unfair acts and practices in violation of the States’ Consumer

Protection Acts, in the marketing, advertising, promotion, and sale of online tax preparation

products.

       70.     Intuit voluntarily withdrew from the IRS Free File Program effective October

2021 and would be able to seek to rejoin the IRS Free File Program at any time but for the

provisions of this Assurance. Intuit could not rejoin the IRS Free File Program without approval

of the IRS and the Director of the Free File Alliance.

       71.     Solely for purposes of this Assurance, Intuit neither admits nor denies any of the

Findings in paragraphs 3 through 70 of this Section.

                                    INJUNCTIVE RELIEF
I.     General Compliance

       Intuit shall comply with the Consumer Protection Acts and any amendments to those

laws, regulations, and rules that may be adopted by the States subsequent to the Effective Date of

this Assurance.

II.    Prohibition Against Misrepresentations

       Intuit, Intuit’s officers, agents, employees, and attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Assurance, whether

acting directly or indirectly, in connection with promoting or offering any online tax preparation

products, must not misrepresent, expressly or by implication:



                                                 18
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 20 of 52




       A.      That consumers can only file their taxes online accurately if they use a TurboTax

Paid Product or TurboTax Free Edition Product.

       B.      That consumers can only claim a tax credit or tax deduction if they use a

TurboTax Paid Product or TurboTax Free Edition Product.

       C.      That consumers must upgrade to a TurboTax Paid Product to file their taxes

online if they are eligible to use the TurboTax Free Edition Product.

       D.      That consumers can continue using and file their taxes for free with the TurboTax

Free Edition Product when that is not the case, including by stating expressly or impliedly to

consumers on an Upgrade Screen that they can continue using the TurboTax Free Edition

Product through a “keep free” button or another button using similar language. Intuit may give

consumers the option of continuing to use the TurboTax Free Edition Product on an Upgrade

Screen, so long as a disclosure is made, Clearly and Conspicuously on the Upgrade Screen and in

Close Proximity to any button, link, or option on the Upgrade Screen that permits the consumer

to exercise the option of continuing to use the TurboTax Free Edition Product, that the current

tax information entered by the consumer indicates that the consumer will need to upgrade to a

TurboTax Paid Product to file his or her taxes.

       E.      Any other fact material to consumers concerning any tax preparation product or

service, such as the price; total cost; any material restrictions, limitations, or conditions; or any

material aspect of its performance, efficacy, nature, or central characteristics.

III.   Required Disclosures and Business Practices for Advertising and Marketing
       of Free Products

       As soon as reasonably practicable, but no later than August 1, 2022, in connection with

advertising, marketing, promoting, offering, naming, or describing, or assisting in the

advertising, marketing, promotion, offering, naming, or describing of any tax preparation



                                                  19
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 21 of 52




products as free, whether directly or indirectly, Intuit must make the following disclosures about

taxpayer eligibility for such free products and comply with the following terms:

        A.      In any non-Space-Constrained Advertisement of free tax preparation products

other than on a TurboTax Website, Intuit must disclose, Clearly and Conspicuously, and in Close

Proximity to the representation that the product is free: (1) the existence and category of material

limitations on a consumer’s ability to use that free product; and (2) that not all taxpayers qualify

for the free product.

        B.      In any Space-Constrained Advertisement of free tax preparation products other

than Space-Constrained Video Advertisements, Intuit must disclose that eligibility requirements

apply. If made online, Intuit must also (1) Clearly and Conspicuously include a hyperlink to a

landing page or webpage on a TurboTax Website that Clearly and Conspicuously contains full

disclosure of all material eligibility restrictions or (2) link by clicking on the Advertisement itself

to a landing page or webpage on a TurboTax Website that Clearly and Conspicuously sets forth

full disclosure of all material eligibility restrictions.

        C.      For a period of ten (10) years, in any Space-Constrained Video Advertisements of

free tax preparation products, Intuit must visually disclose, Clearly and Conspicuously, and in

Close Proximity to the representation that the product is free: (1) the existence and category of

material limitations on a consumer’s ability to use that free product; and (2) that not all taxpayers

qualify for the free product. In addition, for a period of ten (10) years, in any Space-Constrained

Video Advertisements of free tax preparation products except for such Advertisements that are 8

seconds or shorter, Intuit must verbally disclose, Clearly and Conspicuously and in Close

Proximity to the representation that the product is free, that not all taxpayers qualify.




                                                    20
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 22 of 52




        D.      In any Advertisement of free tax preparation products on a TurboTax Website, and

any space on a TurboTax Website listing, describing, offering, or promoting such free products,

Intuit must disclose (1) Clearly and Conspicuously and very near to the representation all

material limitations on a consumer’s ability to use that free product, including, but not limited to,

eligibility criteria for that free product, or (2) through a hyperlink (i) that is very near to the

representation, (ii) that indicates that there are material limitations on a consumer’s ability to use

that free product, and (iii) that links to a landing page or webpage that Clearly and

Conspicuously sets forth all material limitations on a consumer’s ability to use that free product,

including, but not limited to, eligibility criteria for that free product.

        E.      Intuit must disclose Clearly and Conspicuously to consumers, at the earliest point

at which it is reasonably possible to determine, that they do not qualify to file a tax return for free

with the TurboTax Free Edition Product.

        F.      Intuit must take reasonable steps to design all TurboTax products to inform, at the

earliest point it is reasonably possible, consumers using the TurboTax Free Edition Product

whether they will or will not be able to file for free using that product.

        G.      Intuit must not publish, or cause to be published, in any medium (1) its “free, free,

free” Video Advertisements (see Appendix A for a list of such advertisements) and (2) Video

Advertisements that are substantially similar in their repetition of the word free. Intuit must

comply with this Section III.G immediately upon the Effective Date, notwithstanding any

contradictory language in the introduction to Section III above.

IV.     Prohibition Against Data-Clearing Practices

        Effective December 1, 2022, Intuit must permit consumers who enter a TurboTax Paid

Product through an Upgrade Screen to return to the TurboTax Free Edition Product without being

required to re-enter the data they provided when using the TurboTax Free Edition Product.


                                                   21
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 23 of 52




V.      Voluntary Withdrawal From and Injunction Against Rejoining the IRS Free
        File Program

        In recognition of Intuit’s voluntary withdrawal from the IRS Free File Program effective

October 2021 and Intuit’s representation and commitment that it will not rejoin the IRS Free File

Program, and in lieu of this Assurance containing specific injunctive provisions concerning

Intuit’s potential future participation in the IRS Free File Program and conduct related thereto:

        A.       Intuit must not seek to rejoin or participate in the IRS Free File Program.

        B.       This term may only be modified by amending this Assurance pursuant to Section

XII(H).

VI.     Payment to the Settlement Fund and Administration Fund

        A.       Within thirty (30) days of the Effective Date, Intuit shall pay the total sum of One

Hundred Forty-One Million Dollars ($141,000,000)3 (the “Required Payment”) as described

herein. The Required Payment shall be made in two installments: (1) the first payment, in the

amount of Two Million Five Hundred Thousand Dollars ($2,500,000) (the “Administration

Fund”), shall be made by Intuit to an account for the payment of costs and expenses incurred or

charged by the Fund Administrator in administering the Settlement Fund; (2) the second

payment, in the amount of One Hundred Thirty-Eight Million Two Hundred and Fifty Thousand

Dollars ($138,250,000) (the “Settlement Fund”), shall be made by Intuit to an account for the use

of the fund administrator selected by the Oversight Committee (the “Fund Administrator”), for

the purpose of providing restitution to Covered Consumers as described hereunder, who shall be

responsible for the administration of the Settlement Fund. The Required Payment installments

shall be made by wire transfer in accordance with instructions provided by the Oversight


        3
           From this amount, a total of Two Hundred and Fifty Thousand Dollars ($250,000) will be allocated for
fees and costs to a certain previously designated State. This Two Hundred and Fifty Thousand Dollars ($250,000)
will be paid into the Settlement Fund by Intuit and will distributed by the Oversight Committee.


                                                       22
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 24 of 52




Committee. After transfer of the Required Payment, Intuit shall have no right, title, interest or

other legal claim in the transferred funds.

        B.      The Oversight Committee shall have sole discretion concerning the administration

and distribution of the Settlement Fund, which may include determining the Covered Consumers

who are entitled to payments from the Settlement Fund; the nature, timing, and amount of such

payment; directing the Fund Administrator to make payments to these consumers; the timing and

content of communications from the Fund Administrator to Covered Consumers concerning the

Settlement Fund; directing the Fund Administrator to make payments of fees or costs from the

Settlement Fund to one or more Attorneys General; and transferring funds from the Settlement

Fund to the Administration Fund. Attached for informational purposes only as Appendix C is a

preliminary calculation of each States’ percentage of the total population of Covered Consumers;

the Oversight Committee is not required to distribute the Settlement Fund according to these

preliminary percentages. If the Oversight Committee directs the Fund Administrator to make a

payment of fees or costs to a State, that payment shall be deducted from the share of the

Settlement Fund that is allocated to that State. Individual States may, at their discretion, append a

State-specific appendix to their copy of this Assurance that sets forth the payment from the

Settlement Fund that has been allocated to the Covered Consumers in that State and any payment

of fees or costs to that State.

        C.      All costs and expenses incurred or charged by the Fund Administrator in

administering the Settlement Fund shall be paid out of the Administration Fund. The Oversight

Committee shall have sole discretion concerning the administration and distribution of any

money that remains in the Administration Fund after payment of all costs and expenses incurred

or charged by the Fund Administrator in administering the Settlement Fund. In no event shall the




                                                 23
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 25 of 52




Attorneys General be liable for any costs associated with administering the Settlement Fund. The

administration of the Settlement Fund shall, include, but not be limited to, the following:

           1. Identifying the current mailing address of each Covered Consumer, which shall be

               provided by Intuit and/or through the use of publicly-available databases,

               commercially-available databases, and public records;

           2. Preparing and sending, by mail and email, communications to Covered

               Consumers relating to the settlement, including notice of the settlement and

               reminder notices to all Covered Consumers who had been sent a check but not yet

               cashed it;

           3. Distributing restitution to each Covered Consumer by check, and reissuing checks

               as necessary, including for checks that have been returned;

           4. Establishing a process by which Covered Consumers may elect to receive their

               payments through an electronic payment processor such as Venmo, PayPal, or

               Zelle instead of by check;

           5. Maintaining a website that contain the terms and conditions of the settlement;

           6. Providing and hosting a toll free number to provide information to Covered

               Consumers relating to the settlement during distribution of the restitution;

           7. Contacting, by mail, email, or phone, Covered Consumers regarding uncashed

               checks;

           8. Reporting to the Oversight Committee on the status of the administration of the

               Settlement Fund and responding to requests by the Oversight Committee for

               documentation and information necessary to confirm the proper administration of

               the Settlement Fund; and




                                                24
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 26 of 52




            9. Providing all other services necessary for the proper administration of the

               Settlement Fund.

       D.      Within sixty (60) days of the Effective Date, Intuit must submit to the Oversight

Committee for review and non-objection its proposed contract with the Fund Administrator that

includes a comprehensive Statement of Work consistent with Section VI.C and all other terms of

this Assurance. The Oversight Committee will have the discretion to make a determination of

non-objection to the Statement of Work or direct Intuit to revise it. If the Oversight Committee

directs Intuit to revise the Statement of Work, Intuit must revise and resubmit the contract to the

Oversight Committee within thirty (30) days. After receiving notification that the Oversight

Committee has made a determination of non-objection to the Statement of Work, Intuit and the

Settlement Administrator must implement and adhere to the steps, recommendations, deadlines,

and timeframes outlined in the Statement of Work.

       E.      Intuit shall promptly provide the Fund Administrator (and the Oversight

Committee, if requested by the Oversight Committee) with all information the Oversight

Committee deems necessary to permit the Fund Administrator to distribute funds to Covered

Consumers as directed by the Oversight Committee, including, but not limited to, the following

for each consumer: full name; last known and prior mailing addresses, email addresses, and

telephone numbers; and for each of Tax Years 2016, 2017, and 2018, the TurboTax Paid Product

used by the consumer, if any, the amount the consumer paid to Intuit for said TurboTax Paid

Product, and the amount of any credits, chargebacks, or settlement amounts already paid by

Intuit or received by such consumer for the TurboTax Paid Product. In carrying out the

foregoing, Intuit agrees to provide such information as soon as possible but in no event more

than thirty (30) calendar days of the Oversight Committee’s request.




                                                 25
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 27 of 52




         F.       Intuit shall warrant to the Oversight Committee at the time of supplying

information to the Fund Administrator that the information is complete and accurate to the best

of its knowledge and capability. Intuit’s duty to provide complete and accurate information

regarding Covered Consumers shall continue throughout the administration process.

         G.       After the Fund Administrator has completed the administration of the Settlement

Fund (including making reasonable attempts to contact payees of uncashed checks and waiting a

reasonable period of time not less than ninety (90) calendar days), all uncashed checks may be

voided. Once such uncashed checks have been voided, these funds shall be distributed to state

unclaimed property funds, to any other fund or agency if so required by law, or to any other fund

or agency as lawfully directed by the Attorney General of the respective state,4 based on the last


         4
           For Arizona: Any funds distributed to the Arizona Attorney General’s Office shall be deposited into the
Consumer Restitution and Remediation Revolving Fund, pursuant to A.R.S. § 44-1531.02(B). The Arizona Attorney
General’s Office will have sole discretion as to how and when restitution funds are distributed to consumers. In the
event that any portion of those funds is not distributed to eligible consumers, such portion will be deposited by the
Arizona Attorney General’s Office into the Consumer Protection-Consumer Fraud Revolving Fund, pursuant to
A.R.S. § 44-1531.02(B), and used for the purposes specified in A.R.S. § 44-1531.01.
          For Colorado: Intuit shall pay to the Colorado Attorney General the total amount of any and all refund
amounts that remain outstanding, whether because they were returned as undeliverable, unclaimed, uncashed,
undeposited, or otherwise. For any such payments to the Colorado Attorney General, they shall be in the form of a
certified check, cashier’s check, or money order made payable to the “Colorado Department of Law,” shall reference
“Intuit-TurboTax” and shall be delivered to: Emily Lujan, Program Assistant, Consumer Protection Section,
Colorado Department of Law, 1300 Broadway, 7th Floor, Denver, Colorado 80203. Such payments shall be held,
along with any interest thereon, in trust by the Colorado Attorney General to be used in the Colorado Attorney
General’s sole discretion for reimbursement of attorneys’ fees and costs, the payment of consumer restitution, if any,
and for consumer or creditor educational purposes, for future consumer credit or consumer protection enforcement,
or public welfare purposes.
          For Delaware: All payments to the Delaware Attorney General pursuant to this Assurance shall be made to
the Consumer Protection Unit of the Delaware Department of Justice (“CPU”). The CPU shall place all funds
received in the State of Delaware's Consumer Protection Fund, and such funds may be utilized for any lawful
purpose.
          For New Mexico: For those funds allocated to New Mexico, such funds shall be directed to the New
Mexico Office of the Attorney General’s (“NMOAG’s”) consumer settlement fund. The funds shall be expended, at
the sole discretion of the NMOAG, (i) to enhance the NMOAG’s law enforcement efforts to prevent and prosecute
elder fraud, consumer fraud, and/or other unfair or deceptive acts or practices, (ii) to investigate, enforce, and
prosecute other illegal conduct related to deceptive online advertising, deceptive use of “dark patterns,” and/or
violations of other consumer protection laws, and/or (iii) for any other lawful purpose, at the sole discretion of the
NMOAG.
          For Ohio: After the Fund Administrator has completed the administration of the Settlement Fund (including
making reasonable attempts to contact payees of uncashed checks and waiting a reasonable period of time not less
than ninety (90) calendar days), all uncashed checks may be voided. Once such uncashed checks have been voided,
these funds shall be distributed and delivered to the office of the Ohio Attorney General. The money received by the


                                                         26
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 28 of 52




known state residence of the payee. The Fund Administrator must distribute uncashed funds, or

any other remaining funds in the Settlement Fund, pursuant to instructions provided by the

Oversight Committee.

         H.       Covered Consumers who receive a payment from the Settlement Fund shall not be

required to return or discontinue the use of any Intuit goods or services, and receipt of any such

payment shall not be tied to any other commitment.

         I.       To the extent not already provided elsewhere, Intuit shall, upon request by the

Oversight Committee, provide all documentation and information necessary for the Oversight

Committee to confirm compliance with the Assurance. To the extent not already provided

elsewhere, Intuit shall ensure that all communications with the Fund Administrator regarding the

administration of the Settlement Fund shall include at least one representative of the Oversight

Committee.

         J.       The Attorneys General shall have no liability whatsoever to Intuit, the Fund

Administrator, or any Covered Consumer in connection with the administration of the Settlement

Fund or for any action by Intuit or the Claims Administrator with respect to the monies

deposited.




office of the Ohio Attorney General pursuant to this paragraph may be used by the office of the Ohio Attorney
General for purposes that may include, but are not limited to, attorney’s fees and other costs of investigation and
litigation, or may be placed in, or applied to, any consumer protection law enforcement fund, consumer education,
litigation or local consumer aid fund, or for such other uses permitted by Ohio law, at the sole discretion of the Ohio
Attorney General.
          For Washington: The total amount of any and all uncashed checks that had been direct to a payee whose
last known residence was in the State of Washington that remain outstanding shall be paid to the Washington
Attorney General’s Office. For any such payments to the Washington Attorney General, they shall be made in good
funds by wire transfer or valid check payable to “State of Washington Attorney General’s Office,” delivered to the
Office of the Attorney General, Attention: Margaret Farmer, Litigation Support Manager, 800 Fifth Avenue, Suite
2000, Seattle, WA 981104. Such payments shall be used for recovery of the state’s fees and costs in investigating
this matter, monitoring compliance with this Assurance of Discontinuance, future enforcement of the Consumer
Protection Act, or for any lawful purpose in the discharge of the state’s Attorney General’s duties at the sole
discretion of the Attorney General.


                                                          27
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 29 of 52




        K.      The Attorney General of the State of New York shall satisfy the reporting

obligations of the States under Section 6050X of the Internal Revenue Code of 1986, as

amended, with respect to Intuit’s payments hereunder. Intuit is fully responsible for the payment

of its taxes, including in the event any deductions for amounts paid under this settlement

agreement are disallowed, as well as any fines or penalties imposed by the Internal Revenue

Service with respect to such taxes.

VII.    Assurance Acknowledgements

        A.      Intuit, within seven (7) days of the Effective Date, (1) must submit to the

Oversight Committee an acknowledgment of receipt of this Assurance sworn under penalty of

perjury; and (2) must identify to the Oversight Committee the primary physical, postal, and email

address and telephone number, as designated points of contact, that the Oversight Committee

may use to communicate with Intuit.

        B.      For five (5) years after the Effective Date, Intuit must deliver a copy of this

Assurance to (1) all principals, officers, and directors; (2) all employees having managerial

responsibilities for Advertisements for any TurboTax Free Edition Product; the online search and

search engine optimization strategies and practices for any TurboTax Free Edition Product and

any TurboTax Paid Product; the representations made on the TurboTax Website regarding any

TurboTax Free Edition Product; and customer service inquiries regarding any TurboTax Free

Edition Product; and (3) any business entity resulting from any change in structure as set forth in

the Section titled Compliance Reporting. Delivery must occur within seven (7) days of the

Effective Date for current personnel. For all others, delivery must occur before they assume their

responsibilities.




                                                  28
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 30 of 52




        C.      From each individual or entity to which Intuit delivered a copy of this Assurance,

Intuit must obtain, within thirty (30) days, a signed and dated acknowledgment of receipt of this

Assurance.

VIII. Compliance Reporting

        A.      One (1) year after the Effective Date, Intuit must submit to the Oversight

Committee a compliance report, sworn under penalty of perjury, in which Intuit must identify all

of Intuit’s tax preparation businesses by all of their names, telephone numbers, and physical,

postal, email, and Internet addresses and describe in detail whether and how Intuit is in

compliance with each Section of this Assurance.

        B.      For five (5) years after the Effective Date, Intuit must submit to the Oversight

Committee a compliance notice, sworn under penalty of perjury, within fourteen (14) days of any

change in the following: (a) any designated point of contact; or (b) the structure of Intuit that

may affect compliance obligations arising under this Assurance, including: creation, merger, sale,

or dissolution of the entity or any subsidiary, parent, or affiliate that engages in any acts or

practices subject to this Assurance.

        C.      Intuit must submit to the Oversight Committee notice of the filing of any

bankruptcy petition, insolvency proceeding, or similar proceeding by or against Intuit within

fourteen (14) days of its filing.

        D.      Any submission to the Oversight Committee required by this Assurance to be

sworn under penalty of perjury must be true and accurate, such as by concluding: “I declare

under penalty of perjury under the laws of the United States of America that the foregoing is true

and correct. Executed on: _____” and supplying the date, signatory’s full name, title (if

applicable), and signature.




                                                  29
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 31 of 52




       E.      Unless otherwise directed by a representative of the Oversight Committee in

writing, all submissions to the Oversight Committee pursuant to this Assurance must be made in

accordance with the terms in Sections XII(L) and (M). All submissions shall have a subject line

that must begin: Attorneys General v. Intuit Inc.

IX.    Recordkeeping

       Intuit must create certain records for ten (10) years after the Effective Date, and retain

each such record for five (5) years. Specifically, Intuit must create and retain the following

records:

       A.      Accounting records showing: (1) the revenues from all TurboTax Paid Products

and any add-on products such as Audit Defense; and (2) the revenues from all TurboTax Paid

Products and any add-on products such as Audit Defense that were received from consumers

who began the process of preparing their returns in any TurboTax Free Edition Product;

       B.      Records of all consumer complaints and refund requests concerning the subject

matter of this Assurance, whether received directly or indirectly, such as through a third party,

and any response;

       C.      All records necessary to demonstrate full compliance with each provision of this

Assurance, including all submissions to the Oversight Committee; and

       D.      To the fullest extent possible, a copy of each unique Advertisement or other

marketing material relating to any TurboTax Free Edition Product.

X.     Compliance Monitoring

       A.      For a period of five (5) years, and for the purpose of monitoring Intuit’s

compliance with this Assurance: Within thirty (30) days of receipt of a written request from the

Oversight Committee, Intuit must submit additional compliance reports or other requested

information, which must be sworn under penalty of perjury.


                                                 30
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 32 of 52




        B.      Nothing in this Assurance limits any State’s lawful use of compulsory process,

pursuant to applicable state law.

XI.     Releases

        A.      By execution of this Assurance, and upon Intuit’s compliance with its terms

including the payments required in Section VI, the States release and forever discharge Intuit and

its past and present officers, directors, employees, agents, affiliates, parents, subsidiaries,

operating companies, predecessors, assigns, and successors from all civil consumer-protection or

unfair-trade-practices claims each Attorneys General is authorized by law to bring that arise from

or relate to the findings contained herein.

        B.      Nothing contained in this Assurance shall be construed to limit the ability of any

Attorney General to enforce the obligations that Intuit has under this Assurance. Further, nothing

in this Assurance shall be construed to waive or limit any private rights of action.

        C.      Notwithstanding the releases in Subsection A of this Section, or any other term of

this Assurance, the following claims are specifically reserved and not released by this Assurance:

(1) claims based on violations of securities laws, including claims based on the offer, sale, or

purchase of securities; (2) claims of regulatory agencies having specific regulatory jurisdiction

that are separate and independent from the regulatory enforcement of the Attorneys General; and

(3) claims that arise from Intuit’s actions that take place after the Effective Date.

XII.    General Provisions

        A.      The Parties understand and agree that the Attorneys General have defined

jurisdiction under the laws, or assert jurisdiction under the common law, of their respective

States for the enforcement of state Consumer Protection Acts.

        B.      The Parties understand and agree that this Assurance shall not be construed as an

approval or sanction by the Attorneys General of Intuit’s business practices, nor shall Intuit


                                                  31
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 33 of 52




represent that this Assurance constitutes an approval or sanction of its business practices. The

Parties further understand and agree that any failure by the Attorneys General to take any action

in response to information submitted pursuant to this Assurance shall not be construed as an

approval or sanction of any representations, acts, or practices indicated by such information, nor

shall it preclude action thereon at a later date.

        C.      Nothing in this Assurance shall be construed as relieving Intuit of the obligation

to comply with all applicable state and federal laws, regulations, and rules, nor shall any of the

provisions of this Assurance be deemed to be permission to engage in any acts or practices

prohibited by such laws, regulations, and rules.

        D.      To the extent that there are any, Intuit agrees to pay all court costs associated with

the filing (if legally required) of this Assurance by any State. No court costs, if any, shall be

taxed against any State.

        E.      This Assurance may be executed by any number of counterparts and by different

signatories on separate counterparts, each of which shall constitute an original counterpart

thereof and all of which together shall constitute one and the same document. One or more

counterparts of this Assurance may be delivered by facsimile or electronic transmission with the

intent that it or they shall constitute an original counterpart thereof.

        F.      This Assurance contains the complete agreement between the Parties. The Parties

have made no promises, representations, or warranties other than what is contained in this

Assurance. This Assurance supersedes any prior oral or written communications, discussions, or

understandings.

        G.      For the purposes of construing the Assurance, this Assurance shall be deemed to

have been drafted by all Parties.




                                                    32
          Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 34 of 52




          H.    This Assurance may not be amended except by an instrument in writing signed on

behalf of all Parties to this Assurance.

          I.    This Assurance is entered into voluntarily and solely for the purpose of resolving

the claims and causes of action against Intuit. Each Party and signatory to this Assurance

represents that it freely and voluntarily enters into this Assurance without any degree of duress or

compulsion.

          J.    Any failure by any Party to this Assurance to insist upon the strict performance by

any other Party of any of the provisions of this Assurance shall not be deemed a waiver of any of

the provisions of this Assurance, and such Party, notwithstanding such failure, shall have the

right thereafter to insist upon the specific performance of any and all of the provisions of this

Assurance.

          K.    If any clause, provision, or section of this Assurance shall, for any reason, be held

illegal, invalid, or unenforceable, such illegality, invalidity, or unenforceability shall not affect

any other clause, provision, or section of this Assurance, which shall be construed and enforced

as if such illegal, invalid, or unenforceable clause, section, or provision had not been contained

herein.

          L.    Whenever Intuit shall provide notice to any Attorneys General under this

Assurance, that requirement shall be satisfied by sending notice to the email and postal address

for each respective Attorneys General identified in Appendix B in accordance with the following

paragraph.

          M.    All notices or other documents to be provided under this Assurance shall be sent

by U.S. mail, certified mail return receipt requested, or other nationally recognized courier

service that provides for tracking services and identification of the person signing for the notice




                                                  33
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 35 of 52




or document, and shall have been deemed to be sent upon mailing. Additionally, any notices or

documents to be provided under this Assurance shall also be sent by electronic mail if an email

address has been provided for notice. Any party may update its address by sending written notice

to the other party.

        N.      If a court of competent jurisdiction determines that Intuit has breached this

Assurance, Intuit shall pay to the Attorneys General the cost, if any, of obtaining such

determination and of enforcing this Assurance, including without limitation legal fees, expenses,

and court costs.

        IN WITNESS WHEREOF, this Assurance is executed by the Parties hereto on the dates

set forth below:

                      [Parties’ signature pages continued in the following pages]




                                                  34
Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 36 of 52
      Case 3:22-cv-01973-CRB       Document 69-1      Filed 05/04/22        Page 37 of 52




For New York State Attorney General Letitia James


                                LETITIA JAMES
                                Attorney General of the State of New York
                                28 Liberty Street
                                New York, NY 10005




                                By:
                                Date: May 4, 2022
                                Clark P. Russell
                                Deputy Bureau Chief
                                Bureau of Internet and Technology




                                By:
                                Date: May 4, 2022
                                Joseph P. Mueller
                                Assistant Attorney General
                                Bureau of Consumer Frauds and Protection




                                         36
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 38 of 52




                    APPENDIX A – “FREE, FREE, FREE” ADVERTISEMENTS5

      “Big Kick”

           o The “Big Kick” advertisement depicts a high school football placekicker and his
             supportive father. In the moments before an important kick, the son flashes back to
             a memory from his youth of his father encouraging him; returning to the present,
             the son converts the field goal attempt while his father looks on. However, instead
             of featuring conventional dialogue, the characters in “Big Kick” repeat only the
             word “free” throughout the ad.




      “Credits”

           o In the “Credits” advertisement, a John McClane-type action hero utters a wisecrack
             (here, the word “free” several times) as he drops a lighter onto a streak of gasoline,
             which triggers the explosion of a batter white van. As flames explode into the air,
             the action hero strides towards the camera in slow motion, prompting the credits to




       5
         This Appendix addresses all versions of the listed advertisements, i.e., 15-second, 30-
second, and 60-second versions of the advertisements, to the extent they exist.

                                               A-1
    Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 39 of 52




          roll on screen, with every actor and role consisting of one or more uses of the word
          “free.”




   “Crossword”

       o In “Crossword,” a white-haired couple completes a crossword puzzle in which
         every clue and every answer is one or more uses of the word “free.”




                                          A-2
    Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 40 of 52




   “Game Show”

       o The “Game Show” advertisement depicts a 70s-era game show in which a woman
         must guess what activity or concept her male partner is miming. Every one of the
         woman’s answers is correct and consists of one or more uses of the word “free.”




   “Lawyer”

       o In “Lawyer,” an attorney delivers an impassioned closing argument to the jury as
         dramatic music swells, with every word of the attorney’s argument being “free.”




                                        A-3
    Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 41 of 52




          After he finishes, a member of the jury leads a standing ovation, as various jurors
          repeat the word “free” several times.




   “Spelling Bee”

       o The “Spelling Bee” advertisement shows a middle school-aged boy correctly
         spelling the word “free” in a spelling bee. Aside from the boy’s spelling out the
         letters “F-R-E-E,” every line dialogue spoken by the boy and by the judge of the
         spelling bee consists entirely of the word “free.”




                                         A-4
    Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 42 of 52




   “Echo”

       o In “Echo,” a hiker shouts “free” from the top of a mountain, with the word “free”
         reverberating back to her as a result.




                                         A-5
    Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 43 of 52




   “Auctioneer”

       o In “Auctioneer,” a fleet-tongued auctioneer rattles off prices and bids to a collection
         of ranchers and cowboys. Instead of conventional dialogue, the auctioneer
         repeatedly utters the word “free.”




                                           A-6
    C a s e           3 : 2 2 - c v - 0 1 9 7 3 - C R B                                    D o c u




   “Dance Workout”

       o The “Dance Workout” advertisement depicts an instructor leading an enthusiastic
         dance workout class. Instead of conventional words of encouragement and
         instruction, the instructor repeats the word “free.”




                                        A-7
     Case 3:22-cv-01973-CRB             Document 69-1           Filed 05/04/22   Page 45 of 52




                              APPENDIX B – STATE NOTICES

Alaska                 1031 West 4th, Ave., Suite 200
                       Anchorage, AK 99501
                       consumerprotection@alsaka.gov

Alabama                501 Washington Avenue
                       Montgomery, AL 36130
                       Olivia.Martin@AlabamaAG.gov

Arkansas               323 Center Street, Suite 200
                       Little Rock, AR 72201

Arizona                Alyse Meislik
                       Consumer Protection & Advocacy Section
                       2005 N. Central Ave.
                       Phoenix, AZ 85004
                       Alyse.Meislik@azag.gov
                       consumer@azag.gov

California             300 South Spring Street, Suite 1702
                       Los Angeles, CA 90013
                       bernard.eskandari@doj.ca.gov

Colorado               1300 Broadway
                       Denver, CO 80203
                       abigail.hinchcliff@coag.gov

Connecticut            Brendan T. Flynn, AAG
                       Office of the Connecticut Attorney General
                       165 Capital Ave.
                       Hartford, CT 06106
                       Brendan.Flynn@ct.gov

District of Columbia   Office of Consumer Protection
                       Public Advocacy Division
                       ATTN: Tim Shirey, Investigator
                       D.C. Office of the Attorney General
                       400 6th Street NW
                       Washington D.C. 20001
                       Timothy.Shirey@dc.gov

Delaware               820 N. French St., 5th Floor
                       Wilmington, DE 19801
                       katherine.devanney@delaware.gov

Florida                Edward Moffitt



                                            A-8
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 46 of 52




                      Chief Investigator, MSPB & Cyber Fraud Bureau
                      Office of the Florida Attorney General
                      135 West Central Boulevard, Suite 670
                      Orlando, FL 32801
                      Edward.Moffitt@myfloridalegal.com

Georgia               2 Martin Luther King, Jr. Drive, Suite 356E
                      Atlanta, GA 30334
                      dzisook@law.ga.gov

Hawaii                235 S. Beretania Street #801
                      Honolulu, Hawaii 96813
                      ltong@dcca.hawaii.gov
                      rtolenti@dcca.hawaii.gov

Illinois              100 W. Randolph St., 12th Fl.
                      Chicago, IL 60601
                      Daniel.edelstein@ilag.gov

Iowa                  William Pearson
                      Iowa Department of Justice
                      1305 E. Walnut, 2nd Floor
                      Des Moines, IA 50319
                      William.pearson@ag.Iowa.gov

Idaho                 P.O. Box 83720
                      Boise, ID 83720-0010
                      stephanie.guyon@ag.idaho.gov

Indiana               302 W. Washington St.
                      IGCS, 5th Floor
                      Indianapolis, IN 46204
                      Michelle.Alyea@atg.in.gov

Kansas                120 SW 10th Avenue, 2nd floor
                      Topeka, KS 66612
                      sarah.dietz@ag.ks.gov

Kentucky              1024 Capital Center Drive, Suite 200
                      Frankfort, KY 40601
                      Christian.Lewis@ky.gov

Louisiana             1885 N 3rd Street
                      Baton Rouge, LA 70802
                      MughalA@ag.louisiana.gov

Massachusetts         One Ashburton Place, 18th Floor



                                          A-9
     Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 47 of 52




                   Boston, MA 02108
                   Glenn.kaplan@mass.gov

Maryland           Consumer Protection Division of the Office of the Attorney General of
                   Maryland
                   Elizabeth Stern
                   Assistant Attorney General
                   200 Saint Paul Place
                   Baltimore, MD 21202
                   estern@oag.state.md.us

                   With a copy to:

                   Chief, Consumer Protection Division
                   200 Saint Paul Place
                   Baltimore, MD 21202
                   consumer@oag.state.md.us

Maine              6 State House Station
                   Augusta, Maine 04333-0006
                   christina.moylan@maine.gov

Michigan           525 W. Ottawa St.
                   PO Box 30736
                   Lansing, MI 48909
                   Levina@michigan.gov

Minnesota          445 Minnesota Street, Suite 1200
                   Saint Paul, MN 55101
                   alex.baldwin@ag.state.mn.us

Missouri           815 Olive Street, Suite 200
                   St. Louis, MO 63101
                   Michael.Schwalbert@ago.mo.gov

                   with an additional hard copy to:
                   207 W. High St.
                   P.O. Box 899
                   Jefferson City, MO 65102

Mississippi        Post Office Box 220
                   Jackson, MS 39205
                   caleb.pracht@ago.ms.gov
                   consumer@ago.ms.gov

Montana            215 N Sanders Street
                   Helena, MT 59601


                                       A-10
       Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 48 of 52




                     ocpinvestigations@mt.gov

North Carolina       PO Box 629
                     Raleigh, NC 27602

North Dakota         1720 Burlington Drive, Suite C
                     Bismarck, ND 58504-7736
                     pgrossman@nd.gov

Nebraska             2115 State Capitol Building
                     Lincoln, NE 68509
                     michaela.hohwieler@nebraska.gov

New Hampshire        33 Capitol St.
                     Concord, NH 03301

New Jersey           124 Halsey St. - 5th Floor
                     P.O. Box 45029
                     Newark, NJ 07102
                     monica.finke@law.njoag.gov
                     zeyad.assaf@law.njoag.gov

New Mexico           Lawrence Otero
                     Brian McMath
                     Assistant Attorneys General
                     Consumer & Environmental Protection Division
                     New Mexico Office of the Attorney General
                     P.O. Box 1508
                     Santa Fe, New Mexico 87504
                     lotero@nmag.gov
                     bmcmath@nmag.gov

Nevada               100 North Carson Street
                     Carson City, NV 89701
                     MNewman@ag.nv.gov
                     and
                     8945 W. Russell Road, Suite 204
                     Las Vegas NV 89148
                     Sforbes@ag.nv.gov

New York             28 Liberty St.
                     New York, NY 10005
                     joseph.mueller@ag.ny.gov
                     clark.russell@ag.ny.gov

Ohio                 1 Government Center
                     640 Jackson St., Suite 1340



                                         A-11
        Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 49 of 52




                      Toledo, Ohio 43604
                      Timothy.Effler@OhioAGO.gov

Oklahoma              313 NE 21st St.
                      Oklahoma City, OK 73105
                      Malisa.McPherson@oag.ok.gov

Oregon                Oregon Department of Justice
                      Attn: Althea Cullen, AAG
                      100 SE Market Street
                      Portland, OR 97201
                      Althea.d.cullen@doj.state.or.us

Pennsylvania          John Abel
                      Assistant Director for Multistate and Special Litigation
                      Pennsylvania Office of Attorney General
                      15th Floor, Strawberry Square
                      Harrisburg, PA 17120
                      jabel@attorneygeneral.gov

Rhode Island          150 South Main St.
                      Providence RI 02903
                      sprovazza@riag.ri.gov

South Carolina        P.O. Box 11549
                      Columbia, SC 29211
                      rhartner@scag.gov

South Dakota          1302 E. Hwy 14, Suite 1
                      Pierre, SD 57501
                      Consumerhelp@state.sd.us

Tennessee             PO Box 20207
                      Nashville, TN 37202-0207
                      Kelley.groover@ag.tn.gov

Texas                 PO Box 12548 (MC-010)
                      Austin, Texas 78711
                      patrick.abernethy@oag.texas.gov

Utah                  160 East 300 South, 5th Floor
                      PO Box 140872
                      Salt Lake City, UT 84114-0872
                      kmclean@agutah.gov

Virginia              202 N. 9th St.
                      Richmond, VA 23219



                                          A-12
     C a s e    3 : 2 2 - c v - 0 1 9 7 3 - C R B            D o c u




                jscott@oag.state.va.us

Vermont         109 State St.
                Montpelier, VT 05609
                james.layman@vermont.gov

Washington      Mina Shahin
                Washington State Attorney General’s Office
                800 Fifth Ave, Suite 200
                Seattle, WA 98104
                mina.shahin@atg.wa.gov

Wisconsin       17 West Main Street, PO Box 7857
                Madison WI 53707
                myszkowskiga@doj.state.wi.us

West Virginia   PO Box 1789
                Charleston, WV 25326
                Ann.L.Haight@wvago.gov

Wyoming         2320 Capitol Avenue
                Cheyenne, WY 82002
                william.young@wyo.gov
                and
                109 State Capitol
                Cheyenne, WY 82002
                misha.westby@wyo.gov




                                    A-13
Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 51 of 52




 APPENDIX C – PRELIMINARY STATE PERCENTAGES OF COVERED CONSUMERS


               State       Number of      Percentage of
                            Covered         Covered
                           Consumers       Consumers
               AK            14,135           0.32
               AL            53,656           1.20
               AR            34,487           0.77
               AZ           100,213           2.24
               CA           371,403           8.30
               CO            82,967           1.85
               CT            39,078           0.87
               DC             9,356           0.21
               DE            13,247           0.30
               FL           335,246           7.50
               GA           134,480           3.01
               HI            14,521           0.32
               IA            33,167           0.74
               ID            27,237           0.61
               IL           133,990           3.00
               IN            94,163           2.11
               KS            38,075           0.85
               KY            54,406           1.22
               LA            55,578           1.24
               MA            75,091           1.68
               MD            66,669           1.49
               ME            22,650           0.51
               MI           115,565           2.58
               MN            60,322           1.35
               MO            81,427           1.82
               MS            35,053           0.78
               MT            16,072           0.36
               NC           139,028           3.11
               ND             9,270           0.21
               NE            25,780           0.58
               NH            22,074           0.49
               NJ            70,164           1.57
               NM            28,535           0.64
               NV            49,883           1.12
               NY           176,712           3.95
               OH           163,367           3.65
               OK            52,399           1.17


                              A-14
      Case 3:22-cv-01973-CRB Document 69-1 Filed 05/04/22 Page 52 of 52




                         OR                68,253               1.53
                         PA               158,779               3.55
                          RI               13,577               0.30
                         SC                67,238               1.50
                         SD                13,455               0.30
                         TN               111,658               2.50
                         TX               465,793              10.41
                         UT                44,289               0.99
                         VA               111,613               2.50
                         VT                 9,361               0.21
                         WA               121,102               2.71
                         WI                76,682               1.71
                         WV                23,533               0.53
                         WY                 8,790               0.20
                        Other*            329,199               7.36
                        Totals           4,472,788            100.00




* The “Other” category includes Covered Consumers for whom there currently is no information
available on their state affiliation and consumers in U.S. territories and foreign countries,
including U.S. military mail codes.




                                            A-15
